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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:

ATP OIL & GAS CORPORATION
                                                   CASE NO. 12-36187
        Debtor
                                                   CHAPTER 7



RODNEY TOW, TRUSTEE

V.
                                                  ADVERSARY NO.
T. PAUL BULMAHN; STEPHEN S.
TAYLOR, JR.; TAYLOR ASSET
MANAGEMENT, INC.; APEX
CLEARING CORPORATION; BANK OF
AMERICA, NATIONAL ASSOCIATION;
THE BANK OF NEW YORK MELLON
CORPORATION; THE BANK OF NEW
YORK MELLON/MELLON TRUST OF
NEW ENGLAND, NATIONAL
ASSOCIATION; BARCLAYS CAPITAL,
INC.; BNP PARIBAS PRIME
BROKERAGE, INC.; BROWN
BROTHERS HARRIMAN SECURITIES,
LLC; CHARLES SCHWAB & CO., INC.;
CITIBANK, N.A.; CITIGROUP GLOBAL
MARKETS INC.; CREDIT SUISSE
SECURITIES (USA) LLC; DEUTSCHE
BANK SECURITIES INC.; E*TRADE
CLEARING LLC; FIRST CLEARING,
LLC; GOLDMAN SACHS EXECUTION &
CLEARING, LP; THE HUNTINGTON
NATIONAL BANK; JP MORGAN CHASE
BANK, N.A.; J.P. MORGAN CLEARING
CORP.; LPL FINANCIAL
CORPORATION; MERRILL LYNCH,
PIERCE, FENNER & SMITH
INCORPORATED; MORGAN STANLEY
& CO. LLC; MORGAN STANLEY SMITH
BARNEY LLC; NATIONAL FINANCIAL


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SERVICES LLC; THE NORTHERN                      §
TRUST COMPANY; PERSHING LLC;                    §
RAYMOND, JAMES, & ASSOCIATES,                   §
INC.; RBC CAPITAL MARKETS, LLC;                 §
SCOTTRADE, INC.; STATE STREET                   §
BANK & TRUST CO.; STATE STREET                  §
BANK AND TRUST COMPANY; TD                      §
AMERITRADE CLEARING, INC.; TD                   §
WATERHOUSE CANADA, INC./CDS;                    §
UBS FINANCIAL SERVICES, INC.; UBS               §
SECURITIES LLC; US BANK N.A.; JOHN              §
DOE 1— 553                                      §


                          PLAINTIFF'S ORIGINAL COMPLAINT


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE, MARVIN ISGUR:

        COMES NOW, Rodney Tow, the Chapter 7 Trustee (the "Trustee") of the estate of ATP

Oil & Gas Corporation, files this Complaint against Brokerage Defendants and Preferred

Stockholder Defendants named below and would show the Court as follows:

                                             I.
                                  JURISDICTION AND VENUE

        1.      The Trustee files this Complaint on behalf of the Debtor ATP Oil & Gas

Corporation (herein "ATP" or the "Debtor") against Defendants for claims for fraudulent transfer

under 24,005 at the Texas Business & Commerce Code and 11 U.S.C. § 548, and preferential

transfer under 11 U.S.C. § 547.

        2.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b) and

28 U.S.C. § 157(a), because this claim arises in and is related to ATP's bankruptcy proceeding

(herein "Bankruptcy Case").

        3.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (C), (H), (M)

and (0).



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         4.      Plaintiff consents to this Court's entry of final orders or judgment relating to this

Complaint.

         5.      Venue lies in this district pursuant to 28 U.S.C. § 1408(a), as ATP' s place of

business and assets have been located here for 180 days preceding commencement of its

Bankruptcy Case, and under 28 U.S.C. § 1409(a), since the Bankruptcy Case is pending in this

Court.

                                                II.
                                              PARTIES

         6.      The Plaintiff is Rodney Tow (hereinafter referred to as "Trustee", or "Plaintiff')

and is the duly authorized and acting chapter 7 trustee of the estate of ATP Oil & Gas

Corporation.

         7.      The companies listed below are Brokerage Defendants that provided proxy

representation of the Preferred Stockholders for the purpose of receiving notice and dividends on

behalf of the Preferred Stockholders. They are included, in part, for the purpose of providing

notice of this lawsuit to the Preferred Stockholders of ATP that received dividend payments in

January, 2012, April, 2012 and July, 2012. The names of the Brokerage Defendants and their

registered agents where they will be served are as follows:

              a. Apex Clearing Corporation (aka Ridge Clearing & Outsourcing Solutions)
                 c/o Registered Agent: National Registered Agents, Inc.
                 111 Eighth Avenue
                 New York, New York, 10011

              b. Bank of America, National Association
                 do Registered Agent: C T Corporation System
                 1999 Bryan St., Suite 900
                 Dallas, TX 75201-3136

              c. The Bank of New York Mellon Corporation
                 c/o Registered Agent: The Corporation Trust Company
                 Corporation Trust Center


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                  1209 N. Orange Street
                  Wilmington, DE 19801

             d. The Bank of New York Mellon/Mellon Trust of New England, National
                Association
                c/o Registered Agent: The Corporation Trust Company
                Corporation Trust Center
                1209 Orange St
                Wilmington, DE 19801

             e. Barclays Capital, Inc.
                c/o Registered Agent: C T Corporation System
                One Corporate Center
                Hartford, CT 06103-3220

             f. BNP Paribas Prime Brokerage, Inc.
                c/o Registered Agent: The Corporation Trust Company
                Corporation Trust Center
                1209 Orange St
                Wilmington, DE 19801

             g. Brown Brothers Harriman Securities LLC
                c/o Registered Agent: Brown Brothers Harriman & Co
                Attn: Treasurer
                140 Broadway
                New York, NY 10005-1101

             h. Charles Schwab & Co., Inc.
                c/o Registered Agent: The Corporation Trust Company
                Corporation Trust Center
                1209 N. Orange Street
                Wilmington, DE 19801

             i. Citibank, N.A.
                c/o Registered Agent: CT Corporation System
                150 Fayetteville St., Box 1011
                Raleigh, NC 27601

             j.   Citigroup Global Markets Inc.
                  c/o Registered Agent: C T Corporation System
                  One Corporate Center
                  Hartford, CT 06103

             k. Credit Suisse Securities (USA) LLC
                c/o Registered Agent: Corporation Service Company
                2711 Centerville Rd Suite 400
                Wilmington, DE 19808


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             1. Deutsche Bank Securities Inc.
                 do Registered Agent: The Corporation Trust Company
                 Corporation Trust Center
                 1209 Orange St
                 Wilmington, DE 19801

             m. E*Trade Clearing LLC
                do Registered Agent: Corporation Service Company
                2711 Centerville Road, Suite 400
                Wilmington, DE 19808

             n. First Clearing, LLC
                c/o Registered Agent: Corporation Service Company
                2711 Centerville Road, Suite 400
                Wilmington, DE 19808

             o. Goldman Sachs Execution & Clearing, LP
                do DOS Process: Goldman Sachs Execution & Clearing, L.P.
                ATTN: Norm Feit
                One New York Plaza
                New York, New York 10004

             P. The Huntington National Bank
                 do Registered Agent: David A. Jones, Assistant Vice President
                 41 S High Street Huntington Ctr
                 Columbus, Ohio 43287-0001

                JP Morgan Chase Bank, N.A.
                do Registered Agent: The Corporation Trust Company of Nevada
                311 S. Division St.
                Carson City, NV 89703

             r. J.P. Morgan Clearing Corp.
                do Registered Agent: C T Corporation System
                5601 South 59th Street
                Lincoln, NE 68516

             s. LPL Financial Corporation
                c/o Registered Agent: CT Corporation System
                4701 Cox Road, Suite 301
                Glen Allen, VA 23060-6802

             t. Merrill Lynch, Pierce, Fenner & Smith Incorporated
                c/o Registered Agent: The Corporation Trust Company
                Corporation Trust Center
                1209 Orange St
                Wilmington, DE 19801


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             u. Morgan Stanley & Co., LLC
                c/o Registered Agent: C T Corporation System
                1200 South Pine Island Road
                Plantation, FL 33324

             v. Morgan Stanley Smith Barney LLC
                c/o Registered Agent: C T Corporation System
                1209 N. Orange Street
                Wilmington, DE 19801

             w. National Financial Services LLC
                c/o Registered Agent: The Corporation Trust Company
                Corporation Trust Center
                1209 N. Orange St.
                Wilmington, DE 19801

             x. The Northern Trust Company
                c/o Registered Agent: Secretary of State
                Lenora Smith
                50 South LaSalle Street
                Chicago, IL 60675

             y. Pershing LLC
                c/o Registered Agent: BNY Mellon Trust of Delaware
                301 Bellevue Parkway 3rd Floor
                Wilmington, DE 19809

             z. Raymond, James & Associates, Inc.
                c/o Registered Agent: C T Corporation System
                1999 Bryan Street, Suite 900
                Dallas, TX 75201-3136

             aa. RBC Capital Markets, LLC
                 c/o Registered Agent: Lawyers Incorporating Service
                 14 Centre Street
                 Concord, NH 03301

             bb. Scottrade, Inc.
                 c/o Registered Agent: Corporation Service Company
                 2338 W. Royal Palm Road, Suite J
                 Phoenix, AZ 85021

             cc. State Street Bank & Trust Co.
                 c/o Registered Agent: C T Corporation System
                 155 Federal St., Suite 700
                 Boston, MA 02110

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             dd. State Street Bank and Trust Company
                 c/o Registered Agent: C T Corporation System
                 155 Federal ST., Suite 700
                 Boston, MA 02110

             ee. TD Ameritrade Clearing, Inc.
                 c/o Registered Agent: Incorporating Services, Ltd.
                 5601 S. 59th St, Suite C
                 Lincoln, NE 68516

             ff. TD Waterhouse Canada Inc./CDS
                  c/o Registered Agent: Incorporating Services, Ltd.
                  5601 S. 59th St, Suite C
                  Lincoln, NE 68516

             gg. UBS Financial Services, Inc.
                 c/o Registered Agent: Corporation Service Company
                 2711 Centerville Rd., Suite 400
                 Wilmington, DE 19808

             hh. UBS Securities LLC
                 c/o Registered Agent: Illinois Corporation Service C
                 801 Adlai Stevenson Drive
                 Springfield, IL 62703-4261

             ii. US Bank N.A.
                  c/o Registered Agent: The Corporation Trust Incorporated
                  351 West Camden Street
                  Baltimore, MD 21201-7912

        8.       The additional Defendants are Preferred Stockholders who received dividend

payments in January, 2012, April, 2012 and July, 2012 (hereinafter "Preferred Stockholders").

The Preferred Stockholders received notice and dividends through a proxy system with the

assistance of the Brokerage Defendants. The Brokerage Defendants are in possession of the

names and contact information for the majority of the Preferred Stockholders. Upon information

and belief, the Trustee anticipates that there were approximately five hundred and fifty-six (556)

Preferred Stockholders that could be named as Defendants The Trustee has identified the

following Preferred Stockholder Defendants based on records maintained by ATP:



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             a. T. Paul Bulmahn is an individual that conducts business in this District who can
                be served through his attorney of record Paul Richard Bessette; KING & SPALDING
                LLP; 401 Congress Avenue, Suite 3200; Austin, TX 78701. He is the former
                Chief Executive Officer and Chairman of the Board of Directors of ATP.

              b. Taylor Asset Management, Inc.
                 Registered Agent: C T Corporation System
                 208 SO Lasalle St, Suite 814
                 Chicago, IL, 60604

              c. Stephen S. Taylor, Jr.
                 714 S. Dearborn St. 2nd Floor
                 Chicago, IL 60605
                 Phone # (312) 583-0500

              d. Credit Suisse Securities (USA) LLC
                 c/o Registered Agent: Corporation Service Company
                 2711 Centerville Rd Suite 400
                 Wilmington, DE 198081

        9.       The additional Preferred Stockholder Defendants shall be named John Doe 1

through John Doe 553 and the Trustee shall amend the Complaint to include their names and

contact information upon receipt of the information from the Brokerage Defendants.

                                               III.
                                      FACTUAL ALLEGATIONS

        10.      ATP Oil & Gas Corporation (herein "ATP") was incorporated in Texas in 1991

and was in the business of acquisition, development and production of oil and gas properties.

        11.      On August 17, 2012, ATP filed a voluntary petition for relief under Chapter 11 of

the United States Bankruptcy Code.

        12.      On June 26, 2014, the Bankruptcy Case was converted to a Chapter 7 proceeding,

and Rodney Tow was appointed Trustee for ATP.




  Credit Suisse Securities (USA) LLC received Preferred Stocks in exchange for underwriting services. It is unclear
if these Preferred Stocks were sold to customers of Credit Suisse Securities (USA) LLC or held by Credit Suisse
Securities (USA) LLC. Therefore, Credit Suisse Securities (USA) LLC has been named as both a Brokerage
Defendant and Preferred Stockholder Defendants.

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        13.     On September 29, 2009, ATP issued approximately 1,400,000.00 shares of

Convertible Preferred Stock ("Series A Preferred Stock").

        14.     In June, 2011, ATP issued approximately 1,700,000.00 shares of 8% convertible

perpetual preferred stock ("Series B Preferred Stock").

        15.     The Series B Preferred Stock has terms and features which are substantially

identical to the Series A Preferred Stock ATP Oil & Gas issued in 2009 (collectively, the

"Preferred Stock"). According to the SEC filings created by ATP, each share of Preferred Stock

is perpetual, has no voting rights, has a liquidation preference of $100, pays cumulative

dividends at an annual rate of 8% payable in cash, shares of ATP' s common stock, or a

combination thereof, and is convertible at any time, at the option of the holder, into 4.5045

shares of common stock.

        16.     According to the SEC filings created by ATP, there were 3,105,000 shares of 8%

convertible perpetual preferred stock outstanding as of March 2, 2012 and the number of holders

of preferred stock as of March 2, 2012 was 556.

        17.     According to the SEC filings created by ATP, if declared by ATP's Board of

Directors, holders of the Preferred Stock would be entitled to receive cumulative dividends at the

rate per annum of 8% per share on the liquidation preference thereof of $100.00 per share of

Preferred Stock (equivalent to $8.00 per annum per share), payable in cash, by delivery of shares

of our common stock or through any combination of cash and shares of our common stock.

        18.     If declared by the ATP's Board of Directors, dividends on each share of Preferred

Stock is $8.00 and is payable quarterly on each January 1, April 1, July 1 and October 1,

commencing on January 1, 2010 for Series A Preferred Stock and on October 1, 2011 for Series

B Preferred Stock.



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        19.     According to the SEC filings by ATP, the company's ability to declare and pay

cash dividends and make other distributions with respect to ATP's capital stock, including the

Preferred Stock, was limited by the terms of ATP's outstanding indebtedness and by applicable

Texas law.

        20.     ATP's Board of Directors authorized or ratified the payment of preferred stock

dividend of $1.99 per share on Preferred Stock, which was to be paid on or about January 3,

2012. As of January 3, 2012, there were 3,125,000 total shares of Preferred Stock outstanding

and aggregated dividends of $6,312,500.00 were paid.

        21.     ATP' s Board of Directors authorized or ratified the payment of preferred stock

dividend of $1.99 per share on Preferred Stock, which was to be paid on or about April 1, 2012.

As of April 1, 2012, there were 3,105,000 total shares of Preferred Stock outstanding and

aggregated dividends of $6,178,950.00 were paid.

        22.     ATP's Board of Directors authorized or ratified the payment of preferred stock

dividend of $1.99 per share on Preferred Stock, which was to be paid on or about July 1, 2012.

As of July 1, 2012, there were 3,104,999 total shares of Preferred Stock outstanding and

aggregated dividends of $6,178,948.00 were paid.

        23.     The July 1, 2012 dividend was paid within less than ninety (90) days prior to ATP

filing its Chapter 11 bankruptcy case.

        24.      T. Paul Bulmahn was the former Chief Executive Officer and Chairman of the

Board of Directors of ATP. Defendant Bulmahn was also an owner of the Preferred Stock.

        25.      Due to its financial struggles, ATP had initially intended on not making the July

2, 2012 dividend payment. Mr. Bulhman disagreed with the decision not to make the dividend




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payment and ultimately the other Officers and Directors of ATP merely rubber-stamped

Defendant Bulmahn's desires for ATP.

        26.     The Debtor is an entity and, therefore, the intent of Mr. Bulhman, Chief Executive

Officer and Chairman of the Board of Directors of ATP, who was responsible for the decision to

make the dividend payment, is imputed upon the Debtor.

        27.     As a Preferred Stockholder, Defendant Bulmahn received substantial funds due to

the dividend payment.

        28.     Through the transfer agent, American Stock Transfer & Trust Company, LLC, the

dividend payments were made to Cede & Co., also known as Depository Trust Company, who

held the ATP Preferred Stockholder certificates. Through a proxy system Depository Trust

Company distributed the funds to the Brokerage Defendants.

        29.     Upon information and belief, depending on the type of Brokerage Defendant in

question those funds, were either held by the Brokerage Defendants or distributed directly to the

Preferred Stockholder Defendants.

                                IV.
     CAUSE OF ACTION ONE: FRAUDULENT TRANSFER TO THE PREFERRED
                 STOCKHOLDER DEFENDANTS UNDER THE
               TEXAS UNIFORM FRAUDULENT TRANSFER ACT

        30.     The Trustee repeats and re-alleges the allegations contained in the above

paragraphs for all purposes by reference as if fully set forth herein. This cause of action is pled

in the alternative.

        31.      Upon receipt of the funds from the Depository Trust Company, the Brokerage

Defendants acted as mere conduits providing the dividend payment directly to the Preferred

Stockholder Defendants. For this cause of action, the Brokerage Defendants are simply nominal




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defendants for the purpose of placing their clients, the Preferred Stockholder Defendants, on

notice of the claims against them.

        32.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants described above were paid with the actual intent to hinder,

delay, or defraud creditors of the Debtor. Specifically, Defendant Bulhman had the intent to

hinder, delay, or defraud creditors of the Debtor so that he could receive additional funds through

a dividend payment and this intent is imputed onto the Debtor.

        33.     Additionally, there was no reasonably equivalent value exchanged for the

dividends that were passed through the Brokerage Defendants as a conduit to the Preferred

Stockholder Defendants described above.

        34.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants described above were transferred at a time when ATP has

unreasonably small capital or was in the zone of insolvency.

        35.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants were transferred for the benefit of the insider, Defendant

Bulhman.

        36.     Pursuant to the provisions of Sections 24.005 and 24.009 of the Texas Business &

Commerce Code, the Trustee is entitled to avoid and recover the dividend payments made when

ATP had unreasonably small capital and for which no reasonably equivalent value was given.

        37.      Pursuant to Section 24.013 of the Texas Business & Commerce Code, the Trustee

is entitled to recover attorney's fees and costs.




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                                 V.
     CAUSE OF ACTION TWO: FRAUDULENT TRANSFER UNDER 11 U.S.C. §548
          AGAINST THE PREFERRED STOCKHOLDER DEFENDANTS

        38.     The Trustee repeats and re-alleges the allegations contained in the above

paragraphs for all purposes by reference as if fully set forth herein. This cause of action is pled

in the alternative.

        39.     Upon receipt of the funds from the Depository Trust Company, the Brokerage

Defendants acted as mere conduits providing the dividend payment directly to the Preferred

Stockholder Defendants. For this cause of action, the Brokerage Defendants are simply nominal

defendants for the purpose of placing their clients, the Preferred Stockholder Defendants, on

notice of the claims against them.

        40.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants were paid within two (2) years of the bankruptcy.

        41.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants described above were paid with the actual intent to hinder,

delay, or defraud creditors of the Debtor. Specifically, Defendant Bulhman had the intent to

hinder, delay, or defraud creditors of the Debtor so that he could receive additional funds through

a dividend payment and this intent is imputed onto the Debtor.

        42.     Additionally, there was no reasonably equivalent value exchanged for the

dividends, described above, that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants.

        43.      The dividends, described above, that were passed through the Brokerage

Defendants as a conduit to the Preferred Stockholder Defendants were transferred at a time that

ATP has unreasonably small capital or was in the zone of insolvency.



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        44.     The dividends, described above, that were passed through the Brokerage

Defendants as a conduit to the Preferred Stockholder Defendants were transferred for the benefit

of the insider, Defendant Bulhman.

        45.     The Trustee is entitled to recover dividends transferred on or about April, 2012

and July, 2012 that were passed through the Brokerage Defendants as a conduit to the Preferred

Stockholder Defendants as a result of the fraudulent transfers, plus pre judgment and post-

judgment interest.

                                      VI.
                  PREFERENCE ACTION UNDER 11 U.S.C. §547 AGAINST
                    THE PREFERRED STOCKHOLDER DEFENDANTS

        46.     The Trustee repeats and re-alleges the allegations contained in the above

paragraphs for all purposes by reference as if fully set forth herein. This cause of action is pled

in the alternative.

        47.     Upon receipt of the funds from the Depository Trust Company, the Brokerage

Defendants acted as mere conduits providing the dividend payment directly to the Preferred

Stockholder Defendants. For this cause of action, the Brokerage Defendants are simply nominal

defendants for the purpose of placing their clients, the Preferred Stockholder Defendants, on

notice of the claims against them.

        48.     The dividends that were passed through the Brokerage Defendants as a conduit to

the Preferred Stockholder Defendants were transfers from the Debtor of funds owned by the

Debtor less than ninety (90) days prior to the bankruptcy. Based on the SEC filings, ATP was

required to pay the Preferred Stockholders quarterly dividends through either cash or common

stock. This created a creditor relationship between ATP and the Preferred Stockholder

Defendants.



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        49.     Therefore, the dividend payments listed above were made to a creditor of the

Debtor. At the time of the transfers, the Debtor was insolvent, and the transfers were made to

pay an antecedent debt owed by the Debtor prior to the transfer.

        50.     Each transfer listed above enabled the Preferred Stockholder Defendants to

receive more than they would have received under Chapter 7 bankruptcy.

        51.     The Trustee is entitled to recover from the Preferred Stockholders for these

preferential transfers related to the dividends paid in July, 2012.

                                      VII.
              CAUSE OF ACTION THREE: FRAUDULENT TRANSFER TO THE
                       BROKERAGE DEFENDANTS UNDER THE
                   TEXAS UNIFORM FRAUDULENT TRANSFER ACT

        52.     The Trustee repeats and re-alleges the allegations contained in the above

paragraphs for all purposes by reference as if fully set forth herein. This cause of action is pled

in the alternative.

        53.      In April, 2012 and July, 2012, the Brokerage Defendants received payment of the

dividends for ATP Preferred Stock directly from Depository Trust Company.

        54.      The dividends that were received by Brokerage Defendants were transferred with

the actual intent to hinder, delay, or defraud creditors of the Debtor. Specifically, Defendant

Bulhman had the intent to hinder, delay, or defraud creditors of the Debtor so that he could

receive additional funds through a dividend payment and this intent is imputed onto the Debtor.

        55.      Additionally, there was no reasonably equivalent value exchanged for the

dividends that were received by the Brokerage Defendants.

        56.      The dividends that were received by the Brokerage Defendants described above

were transferred at a time that ATP had unreasonably small capital or was in the zone of

insolvency.


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        57.     The dividends that were received by the Brokerage Defendants were transferred

for the benefit of the insider, Defendant Bulhman.

        58.     Pursuant to the provisions of Sections 24.005 and 24.009 of the Texas Business &

Commerce Code, the Trustee is entitled to avoid and recover the dividend payments made when

ATP had unreasonably small capital and for which no reasonably equivalent value was given.

        59.     Pursuant to Section 24.013 of the Texas Business & Commerce Code, the Trustee

is entitled to recover attorney's fees and costs.

                                 VIII.
     CAUSE OF ACTION FOUR: FRAUDULENT TRANSFER UNDER 11 U.S.C. §548
                 AGAINST THE BROKERAGE DEFENDANTS

        60.     The Trustee repeats and re-alleges the allegations contained in the above

paragraphs for all purposes by reference as if fully set forth herein. This cause of action is pled

in the alternative.

        61.     In April, 2012, and July, 2012, the Brokerage Defendants received payment of the

dividends for ATP Preferred Stock directly from Depository Trust Company.

        62.     The dividends that were received by the Brokerage Defendants were transferred

within two (2) years of the bankruptcy.

        63.      The dividends that were received by the Brokerage Defendants were transferred

with the actual intent to hinder, delay, or defraud creditors of the Debtor. Specifically,

Defendant Bulhman had the intent to hinder, delay, or defraud creditors of the Debtor so that he

could receive additional funds through a dividend payment and this intent is imputed onto the

Debtor.

        64.     Additionally, there was no reasonably equivalent value exchanged for the

dividends that were received by the Brokerage Defendants.



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        65.     The dividends that were received by the Brokerage Defendants were transferred at

a time that ATP has unreasonably small capital or were in the zone of insolvency.

        66.     The dividends that were received by the Brokerage Defendants were transferred

for the benefit of the insider, Defendant Bulhman.

        67.     The Trustee is entitled to recover dividends that were received by the Brokerage

Defendants as a conduit to the Preferred Stockholder Defendants as a result of the fraudulent

transfers, plus pre judgment and post-judgment interest.

                                             IX.
                                           PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Rodney Tow, the Chapter 7

Trustee (the "Trustee") of the estate of ATP Oil & Gas Corporation prays that he be awarded a

judgment against Preferred Stockholder Defendants and/or Brokerage Defendants for actual

damages caused by the fraudulent transfers and preferential transfers listed above, attorney's

fees, prejudgment interest and post-judgment interest and any other relief to which the Trustee

has shown himself entitled.

Dated: June 26, 2015

                                             Respectfully Submitted,

                                             By: /s/ T Micah Dortch
                                                     TIMOTHY MICAH DORTCH
                                                     State Bar No. 24044981
                                                     SDTX Bar No. 630903
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